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                              UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF OKLAHOMA

    RICHARD FELTZ and ASHTON DENNIS,
    on behalf of themselves and all other similarly
    situated,

                    Plaintiff,

    v.                                                Case No. 18-CV-0298-SPF-JFJ

    VIC REGALADO, et al.,

                     Defendants.




                                               ORDER

           Before the Court is Plaintiffs’ motion to allow Laura Arandes and Alexandria Twinem to

   withdraw as counsel of record in this action (ECF No. 309). The Court finds that the motion

   should be and is hereby granted.

           SO ORDERED this 16th day of December, 2021.




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